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                        UNITED STATES DISTRICT COURT
6                      WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
7
      FIDELITY SECURITY LIFE                     CASE NO. 2:22-cv-1482
8     INSURANCE COMPANY,
                                                 ORDER
9                         Plaintiff,

10          v.

11    MARIE ELIZABETH CANTU,

12                        Defendant.

13
           This matter comes before the Court on Plaintiff Fidelity Security Life
14
     Insurance Company’s unopposed motion for disbursement of funds. Dkt. No. 68. The
15
     Court GRANTS Fidelity’s motion.
16
           The clerk is authorized and directed to draw a check on the funds deposited
17
     in the registry of this court in the principal amount of $768.10 plus all accrued
18
     interest, payable to Fidelity Security Life Insurance Company and mail or deliver
19
     the check to Williams Kastner, 601 Union Street, Suite 4100, Seattle, WA 98101-
20
     2380, c/o Eliot Harris.
21

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1          Dated this 3rd day of January 2025.

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3                                                A
                                                 Jamal N. Whitehead
4                                                United States District Judge

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     ORDER - 2
